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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN

  CAROLYN PERLIN, individually and              Case No. 16-cv-10635
  on behalf of all others similarly situated,
                                                Hon. George Caram Steeh
                      Plaintiff,

        v.

  TIME INC., a Delaware Corporation,

                      Defendant.


           ORDER GRANTING PRELIMINARY APPROVAL
     OF CLASS ACTION SETTLEMENT AGREEMENT, CERTIFYING
    SETTLEMENT CLASS, APPOINTING CLASS REPRESENTATIVE,
    APPOINTING CLASS COUNSEL, AND APPROVING NOTICE PLAN

       WHEREAS, a class action is pending before the Court entitled Perlin v.

 Time Inc., No. 2:16-cv-10635-GCS-MKM; and

       WHEREAS, Plaintiff Carolyn Perlin and Defendant Time Inc. have entered

 into a Class Action Settlement Agreement, which, together with the exhibits

 attached thereto, sets forth the terms and conditions for a proposed settlement and

 dismissal of the Action with prejudice as to Defendant upon the terms and

 conditions set forth therein (the “Settlement Agreement”), and the Court having

 read and considered the Settlement Agreement and exhibits attached to;

       This matter coming before the Court upon the agreement of the parties, good

 cause being shown, and the Court being fully advised in the premises,



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 IT IS HEREBY ORDERED, DECREED, AND ADJUDGED AS FOLLOWS:

       1.     Terms and phrases in this Order shall have the same meaning as

 ascribed to them in the Settlement Agreement.

       2.     The Parties have moved the Court for an order approving the

 settlement of the Action in accordance with the Settlement Agreement, which,

 together with the documents incorporated therein, sets forth the terms and

 conditions for a proposed settlement and dismissal of the Action with prejudice,

 and the Court having read and considered the Settlement Agreement and having

 heard the parties and being fully advised in the premises, hereby preliminarily

 approves the Settlement Agreement in its entirety subject to the Final Approval

 Hearing referred to in paragraph 20 of this Order.

       3.     This Court finds that it has jurisdiction over the subject matter of this

 action and over all Parties to the Action.

       4.     The Court finds that, subject to the Final Approval Hearing, the

 Settlement Agreement is fair, reasonable, and adequate, within the range of

 possible approval, and in the best interests of the Settlement Class set forth below.

 The Court further finds that the Settlement Agreement substantially fulfills the

 purposes and objectives of the class action, and provides substantial relief to the

 Settlement Class without the risks, burdens, costs, or delay associated with

 continued litigation, trial, and/or appeal. The Court also finds that the Settlement



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 Agreement (a) is the result of arm’s-length negotiations between experienced class

 action attorneys; (b) is sufficient to warrant notice of the settlement and the Final

 Approval Hearing to be disseminated to the Settlement Class; (c) meets all

 applicable requirements of law, including Federal Rule of Civil Procedure 23 and

 the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715; and (d) is not a

 finding or admission of liability by the Defendant or any other parties.

 Certification of the Settlement Class

       5.     For purposes of settlement only: (a) Ari J. Scharg, Eve-Lynn Rapp,

 and Benjamin S. Thomassen of Edelson PC are appointed Class Counsel for the

 Settlement Class; and (b) Carolyn Perlin is named Class Representative. The Court

 finds that these attorneys are competent and capable of exercising the

 responsibilities of Class Counsel and that Plaintiff Perlin will adequately protect

 the interests of the Settlement Class defined below.

       6.     For purposes of settlement only, the Court conditionally certifies the

 following Settlement Class as defined in the Settlement Agreement:

              All persons with Michigan street addresses who purchased a
              subscription to a Time Publication directly from Time, but in a
              manner other than through a Time website, between February
              19, 2013 and February 19, 2016.

       7.     The Court finds, subject to the Final Approval Hearing referred to in

 Paragraph 20 below, that the Settlement Agreement is fundamentally fair,

 adequate, and reasonable, and, solely within the context of and for the purposes of


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 settlement only, that the Settlement Class satisfies the requirements of Rule 23 of

 the Federal Rules of Civil Procedure, specifically, that: the Settlement Class is so

 numerous that joinder of all members is impracticable; there are questions of fact

 and law common to the Settlement Class (e,g., whether Defendant obtained

 consent before disclosing to third parties Plaintiff’s and the Settlement Class’s

 Subscriber Information, whether Defendant’s disclosure of Plaintiff’s and the

 Settlement Class Members’ Magazine Subscriber Information violated the

 Michigan Video Rental Privacy Act, M.C.L. §§ 445.1712, et al. (“VRPA”), and

 whether Plaintiff and the Settlement Class members are entitled to uniform

 statutory damages under the VRPA); the claims of the Class Representative are

 typical of the claims of the members of the Settlement Class; the Class

 Representative and Class Counsel will fairly and adequately protect the interests of

 the members of the Settlement Class; common questions of law or fact

 predominate over questions affecting individual members; and a class action is a

 superior method for fairly and efficiently adjudicating the Action.

       8.     Should the Settlement Agreement not receive the Court’s final

 approval, should final approval be reversed on appeal, or should the Settlement

 Agreement otherwise fail to become effective, the Court’s grant of class

 certification shall be vacated, and the Class Representative and the Settlement

 Class would once again bear the burden of establishing the propriety of class



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 certification. In such case, neither the certification of the Settlement Class for

 settlement purposes, nor any other act relating to the negotiation or execution of

 the Settlement Agreement shall be considered as a factor in connection with any

 class certification issue(s).

 Notice and Administration

        9.     The Court approves, as to form, content, and distribution, the Claim

 Form attached to the Settlement Agreement as Exhibit A, the Notice Plan and all

 forms of Notice to the Settlement Class as set forth in the Settlement Agreement

 and Exhibits B, C, and D thereto, and finds that such Notice is the best notice

 practicable under the circumstances, and that the Notice complies fully with the

 requirements of the Federal Rules of Civil Procedure. The Court also finds that the

 Notice constitutes valid, due and sufficient notice to all persons entitled thereto,

 and meets the requirements of Due Process. The Court further finds that the Notice

 is reasonably calculated to, under all circumstances, reasonably apprise members

 of the Settlement Class of the pendency of this action, the terms of the Settlement

 Agreement, and the right to object to the settlement and to exclude themselves

 from the Settlement Class. In addition, the Court finds that no notice other than

 that specifically identified in the Settlement Agreement is necessary in this Action.

 The parties, by agreement, may revise the Notice and Claim Form in ways that are

 not material, or in ways that are appropriate to update those documents for



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 purposes of accuracy or formatting for publication.

       10.    The Court approves the request for the appointment of Kurtzman

 Carson Consultants, LLC as Settlement Administrator under the Settlement

 Agreement.

       11.    Pursuant to paragraph 4.1 of the Settlement Agreement, the

 Settlement Administrator is directed to publish the Notice and Claim Form on the

 Settlement Website and to send direct notice via email and U.S. Mail in accordance

 with the Notice Plan called for by the Settlement Agreement. The Settlement

 Administrator shall also maintain the Settlement Website to provide full

 information about the Settlement and allow for the filing of claims online.

 Exclusion

       12.    Members of the Class who wish to receive benefits under the

 Settlement Agreement must complete and submit their Claim Form(s) in

 accordance with the instructions contained therein. All Claim Forms must be

 postmarked or received by the Settlement Administrator within forty-five (45) days

 after the date of the entry of the Final Judgment.

       13.    Members of the Settlement Class who wish to exclude themselves

 from the Class may do so if, on or before the Objection/Exclusion Deadline of

 September 14, 2018, they comply with the exclusion procedures set forth in the

 Settlement Agreement and Notice. Any members of the Class so excluded shall



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 neither be bound by the terms of the Settlement Agreement nor entitled to any of

 its benefits.

        14.      Any members of the Settlement Class who elect to exclude

 themselves or “opt out” of the Settlement Agreement must file a written request

 with the Settlement Administrator, received or postmarked no later than the

 Objection/Exclusion Deadline. The request for exclusion must comply with the

 exclusion procedures set forth in the Settlement Agreement and Notice and include

 the Settlement Class member’s name and address, the name of the Time

 publication to which he or she is a subscriber, a signature, the name and number of

 the case, and a statement that he or she wishes to be excluded from the Settlement

 Class for the purposes of this Settlement. So called “mass” or “class” opt-outs shall

 not be allowed.

        15.      Members of the Settlement Class who opt out of the Settlement

 Agreement will relinquish their rights to benefits under the Settlement Agreement

 and will not release their claims. However, members of the Settlement Class who

 fail to submit a valid and timely request for exclusion shall be bound by all terms

 of the Settlement Agreement and the Final Judgment.

 Objections

        16.      Any members of the Settlement Class who have not timely filed a

 request for exclusion may object to the fairness, reasonableness, or adequacy of the



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 Settlement Agreement or to a Final Judgment being entered dismissing the Action

 with prejudice in accordance with the terms of the Settlement Agreement, or to the

 attorneys’ fees and expense reimbursement sought by Class Counsel in the

 amounts specified in the Notice, or to the award to the Class Representative as set

 forth in the Notice and Settlement Agreement. At least fourteen (14) days prior to

 the Objection/Exclusion Deadline, papers supporting the Fee Award shall be filed

 with the court and posted to the settlement website. Members of the Class may

 object on their own, or may do so through separate counsel at their own expense.

       17.    To object, members of the Class must sign and file a written objection

 no later than on or before the Objection/Exclusion Deadline of September 14,

 2018. To be valid, the objection must comply with the objection procedures set

 forth in the Settlement Agreement and Notice, and include his or her name and

 address; an explanation of the basis upon which he or she claims to be a Settlement

 Class Member, including the Time publication to which he or she is or was a

 subscriber; a signature; all grounds for the objection, including all citations to legal

 authority and evidence supporting the objection; the name and contact information

 of any and all attorneys representing, advising, or in any way assisting him or her

 in connection with the preparation or submission of the objection or who may

 profit from the pursuit of the objection (the “Objecting Attorneys”); and a

 statement indicating whether he or she intends to appear at the Final Approval



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 Hearing (either personally or through counsel who files an appearance with the

 Court in accordance with Eastern District of Michigan Local Rules).

       18.   Members of the Settlement Class who fail to file and serve timely

 written objections in compliance with the requirements of this paragraph and the

 Settlement Agreement shall be deemed to have waived any objections and shall be

 foreclosed from making any objections (whether by appeal or otherwise) to the

 Settlement Agreement or to any of the subjects listed in paragraph 20, below.

       19.   To be valid, objections must be filed with the Court and sent to Class

 Counsel: Ari Scharg of Edelson PC, 350 North LaSalle, Suite 1400, Chicago, IL

 60654, and to Defendant’s Counsel: Jacob Sommer of ZwillGen PLLC, 1900 M St.

 NW, Suite 250, Washington, DC 20036. In addition, any objections made by a

 Settlement Class Member who is represented by counsel must be filed through the

 Court’s CM/ECF system.

 Final Approval Hearing

       20.   The Final Approval Hearing shall be held before this Court on

 October 15, 2018 at 2:00 PM in Room 1080 (10th Floor) at the Theodore Levin

 U.S. Courthouse, 231 W. Lafayette Blvd., Detroit, Michigan to determine (a)

 whether the proposed settlement of the Action on the terms and conditions

 provided for in the Settlement Agreement is fair, reasonable, and adequate and

 should be given final approval by the Court; (b) whether a judgment and order of



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 dismissal with prejudice should be entered; (c) whether to approve the payment of

 attorneys’ fees and expenses to Class Counsel; and (d) whether to approve the

 payment of an incentive award to the Class Representative. The Court may adjourn

 the Final Approval Hearing without further notice to members of the Settlement

 Class.

          21.   Class Counsel shall file papers in support of their Fee Award and

 Class Representative’s Incentive Award (collectively, the “Fee Petition”) with the

 Court on or before August 28, 2018. Defendant may, but is not required to, file a

 response to Class Counsel’s Fee Petition with the Court on or before September

 24, 2018. Class Counsel may file a reply in support of their Fee Petition with the

 Court on or before October 1, 2018.

          22.   Papers in support of final approval of the Settlement Agreement and

 any supplementation to the Fee Petition shall be filed with the Court on or before

 October 1, 2018.

 Further Matters

          22.   All further proceedings in the Action are ordered stayed until Final

 Judgment or termination of the Settlement Agreement, whichever occurs earlier,

 except for those matters necessary to obtain and/or effectuate final approval of the

 Settlement Agreement.

          23.   Members of the Settlement Class shall be bound by all determinations



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 and judgments in the Action concerning the Action and/or Settlement Agreement,

 whether favorable or unfavorable.

       24.    If the Settlement Agreement is not finally approved by the Court in

 complete accordance with its terms, each party will have the option of having the

 Action revert to its status as if the Settlement Agreement had not been negotiated,

 made, or filed with the Court. In such event, the parties will retain all rights as if

 the Settlement Agreement was never agreed upon.

       25.    In the event that the Settlement Agreement is terminated pursuant to

 the provisions of the Settlement Agreement or for any reason whatsoever the

 approval of it does not become Final then (i) the Settlement Agreement shall be

 null and void, including any provision related to the award of attorneys’ fees, and

 shall have no further force and effect with respect to any party in this Action, and

 shall not be used in this Action or in any other proceeding for any purpose; (ii) all

 negotiations, proceedings, documents prepared, and statements made in connection

 therewith shall be without prejudice to any person or party hereto, shall not be

 deemed or construed to be an admission by any party of any act, matter, or

 proposition, and shall not be used in any manner or for any purpose in any

 subsequent proceeding in this Action or in any other action in any court or other

 proceeding, provided, however, that the termination of the Settlement Agreement

 shall not shield from subsequent discovery any factual information provided in



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 connection with the negotiation of this Settlement Agreement that would ordinarily

 be discoverable but for the attempted settlement; (iii) other than as expressly

 preserved by the Settlement Agreement in the event of its termination, the

 Settlement Agreement shall have no further force and effect with respect to any

 party and shall not be used in the Action or any other proceeding for any purpose;

 and (iv) any party may elect to move the Court pursuant to the provisions of this

 paragraph, and none of the non-moving parties (or their counsel) shall oppose any

 such motion.

 IT IS SO ORDERED, this 5th day of July, 2018.



                                   s/George Caram Steeh
                                   THE HON. GEORGE CARAM STEEH
                                   UNITED STATES DISTRICT JUDGE


                               CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                                July 5, 2018, by electronic mail.

                                    s/Marcia Beauchemin
                                       Deputy Clerk




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